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1    BENJAMIN B. WAGNER
     United States Attorney
2    HENRY Z. CARBAJAL III
     STANLEY A. BOONE
3    Assistant U.S. Attorneys
     2500 Tulare Street, Suite 4401
4    Fresno, California 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099
6    Attorneys for the
     United States of America
7
8                   IN THE UNITED STATES DISTRICT COURT FOR THE
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )       1:11-CR-00174-AWI
                                        )
12                    Plaintiff,        )       AMENDED ORDER FOR FORFEITURE
                                        )       MONEY JUDGMENT
13          v.                          )
                                        )
14   YURI PEREZ MACHADO,                )
                                        )
15                    Defendant.        )
                                        )
16
17          Based upon the United States’ Application for Forfeiture Money
18   Judgment and the plea agreement entered into between plaintiff
19   United States of America and defendant Yuri Perez Machado,
20          IT IS HEREBY ORDERED that
21          1.   The defendant Yuri Perez Machado shall forfeit to the
22   United States the sum of $209,843.59 and that the Court imposes a
23   personal forfeiture money judgment against defendant in that amount.
24          2.   Any funds applied towards such judgment shall be forfeited
25   to the United States of America and disposed of as provided for by
26   law.    Prior to the imposition of sentence, any funds delivered to
27   the United States to satisfy the personal money judgment shall be
28   seized and held by the U.S. Secret Service, in its secure custody

                                            1      Amended Order for Forfeiture Money Judgment
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1    and control.
2         3.      This Order of Forfeiture shall become final as to the
3    defendant at the time of sentencing and shall be made part of the
4    sentence and included in the judgment.
5         4.      The United States may, at any time, move pursuant to Rule
6    32.2(e) to amend this Order of Forfeiture to substitute property
7    having a value not to exceed $209,843.59 to satisfy the money
8    judgment in whole or in part.
9    IT IS SO ORDERED.
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     Dated:         April 10, 2012
11   0m8i78                             CHIEF UNITED STATES DISTRICT JUDGE
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                                            2      Amended Order for Forfeiture Money Judgment
